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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,

 v.         CASE NO. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS, et al.

                                    /


                                         ORDER


       This cause is before the Court on:

        Dkt. 612     Motion to Dismiss Counts Fifteen and Sixteen of the
                     Second Superseding Indictment (Doc. 82)


       The United States moves to dismiss Count Fifteen and Count Sixteen of the
 Second Superseding Indictment (Dkt. 82).


       Count Fifteen is directed to Defendant Jerry W. Green Jr., and alleges a violation
 of 18 U.S.C. Sec. 1951(a). Count Sixteen is directed to Defendant Jerry W. Green, Jr.,
 and alleges a violation of 18 U.S.C. 924(c).


       After consideration, the Court grants the Motion to Dismiss as to Count Fifteen
 and Count Sixteen of the Second Superseding Indictment. Accordingly, it is


       ORDERED that the Motion to Dismiss Counts Fifteen and Sixteen of the Second
 Superseding Indictment (Doc. 82) is granted.
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       DONE and ORDERED in Chambers in Tampa, Florida on this / /   day of
 March, 2016.




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